        CASE 0:21-cr-00108-PAM-TNL Doc. 187 Filed 01/10/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                         Criminal No.: 21-CR-108 (PAM/TNL) (3)



 UNITED STATES OF AMERICA,               )
                                         )
                       Plaintiff,        )       DEFEDNANT’S RESPONSE TO
 Vs.                                     )      GOVERNMENT’S LIMINE MOTION
                                         )     RELATED TO JURY NULLIFICATION
 J. ALEXANDER KUENG,                     )
                                         )
                       Defendant.        )
                                         )
                                         )


       The defense objects to the overly broad motion in limine filed by the

Government on December 30, 2021 (Doc. 149). The Government seeks relief that

improperly limits the defendant’s right to present a complete defense. The

Government would like to prevent the defense from offering evidence that he

“should not be held accountable for the crime charged because: (1) the culture at the

Minneapolis Police Department (MPD) makes them somehow less responsible for

their own acts or omissions, and (2) because other MPD officer have not been held

accountable for similar acts or omissions in the past.” (Doc. 149 at 2).

       A criminal defendant has a right to present a complete defense. “Whether

rooted directly in the Due Process Clause of the Fourteenth Amendment or in the

Compulsory Process or Confrontation Clauses of the Sixth Amendment, the Constitution

guarantees criminal defendants a meaningful opportunity to present a
        CASE 0:21-cr-00108-PAM-TNL Doc. 187 Filed 01/10/22 Page 2 of 3




complete defense.” Holmes v. South Carolina, 547 U.S. 319, 324 (2006)(internal

punctuation omitted). However, the right does not extend to the introduction of

irrelevant evidence. Jackson v. Norris, 651 F.3d 923, 926 (8th Cir. 2011). Importantly,

“[w]hile jurors possess the raw power to set an accused free for any reason or for no

reason, their duty is to apply the law as given to them by the court. Jury nullification,

while it is available to a defendant, is only a power that the jury has and not a right

belonging to the defendant, much less a substantial right.” United States v. Horsman,

114 F.3d 822, 829 (8th Cir. 1997)(internal citations and punctuation omitted).

       The Government’s limine motion is overly broad. The defendant should be able

to offer evidence about MPD culture or other past use of force complaints. As the

United Supreme Court has noted, “[t]he ‘reasonableness’ of a particular use of force

must be judged from the perspective of a reasonable officer on the scene, rather than

with the 20/20 vision of hindsight.” Graham v. Connor, 490 U.S. 386, 396 (1989). The

only way to judge whether an officer’s actions were reasonable at the time is through

the context of the MPD’s past practices. The only way that the MPD’s past practices can

be judged is to present testimony about the culture of the MPD and whether prior

actions or omissions have been condemned or condoned. The evidence is also relevant

to the truthfulness or bias of a witness. The Government’s motion is overly broad and

would prohibit the defense from presenting a complete defense.




                                              2
       CASE 0:21-cr-00108-PAM-TNL Doc. 187 Filed 01/10/22 Page 3 of 3




      The defense objects to this limine motion to the extent it infringes on his right to

present a complete defense as guaranteed by the United State’s Constitution. The

defense would ask that the motion be denied.




                                             Respectfully submitted,


Dated: January 10, 2022                      /s/ Thomas C. Plunkett
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